Case 1:21-cv-00235-HYJ-PJG ECF No. 18, PageID.113 Filed 07/07/21 Page 1 of 2

                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN

 JESSICA MONTANEZ, individually and on behalf of                      CLASS ACTION
 all others similarly situated,
                                                                    Case No. 1:21-cv-00235
       Plaintiff,

 vs.

 GREEN PEAK INDUSTRIES LLC d/b/a
 SKYMINT,

   Defendant.
 ______________________________________/

                               JOINT STIPULATION OF DISMISSAL

           Plaintiff, Jessica Montanez, and Defendant, Green Peak Industries LLC d/b/a Skymint,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), do hereby stipulate to the dismissal of

this action as follows:

           1.       All claims of the Plaintiff, Jessica Montanez, individually, are hereby dismissed

without prejudice, with each party to bear their own fees and costs.

           2.       All claims of any unnamed member of the alleged class are hereby dismissed

without prejudice.

Dated: July 7, 2021

Respectfully Submitted,


Shamis & Gentile, P.A.                                   By: /s/ Robert W. O’Brien
/s/ Andrew J. Shamis                                     Robert W. O’Brien, Esq.
Andrew J. Shamis, Esq.                                   State Bar No. P59127
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Counsel for Plaintiff                                    Counsel for Defendant
Case 1:21-cv-00235-HYJ-PJG ECF No. 18, PageID.114 Filed 07/07/21 Page 2 of 2



                                    CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2021, I electronically filed the foregoing document with the
Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this
day on all counsel identified below via transmission of Notices of Electronic Filing generated by
CM/ECF or in some other authorized manner.

Respectfully submitted,
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                                      By:      /s/ Andrew J. Shamis
                                               Andrew J. Shamis, Esq.
                                               Florida Bar # 101754

                                              Attorneys for Plaintiff
